    Case 2:16-cv-01326-AKK-JHE Document 26 Filed 12/07/17 Page 1 of 1                     FILED
                                                                                 2017 Dec-07 PM 03:38
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA




                  IN TI{E UNITED STATES DISTRICT COURT
                        FOR THE NORTTIERN DISTRICT
                            SOUTTIERNDIVISION

QLIENTINTRUSS, AIS # t8l63o

      Plaintifi
                                      2:l 6-cv -O 1326-AKK-JHE

LATASHA TERRELL, et al.

      Defendants.

                      JOINT STIPI]LATION OF DISMISSAL

      Comes now the parties, PlaintiffQuentin Truss, and the Defendants, by and

through counsel, Jack Wallace, Jr., to jointly dismiss this case as the parties have

reached settlement.



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Quentin Truss
Plaintiff




                                              t2/712017


'Office of Attomey Gerieral
Attorney for the Defendarts
